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GAS 245B          (Rev. 11/22)Judgment in a Criminal Case
DC Custody TSR



                                         United States District Court                                                         ^2 a ii^ U3
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                             STATESBORO DIVISION

             UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                                                                                                            MOMfX--
                                  V.

                  Enrique Humbra Denson. Sr.
                                                                                Case Number:                    6:22CR00010-I7

                                                                                USM Number:                     08689-021




                                                                                 William Malone Hart
THE DEFENDANT:                                                                  Defendant's Attorney

1^ pleaded guilty to a lesser included offense of Count 1.

□ pleaded nolo contendere to Count(s)                         which was accepted by the court.
□ was found guilty on Count(s)                         after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                   Nature of Offense                                                                   Offense Ended       Count


21 U.S.C. § 846                   Conspiracy to possess with intent to distribute, and to distribute,                 October 5, 2022
21 U.S.C. § 841(a)(1)             cocaine
21 U.S.C. § 841(b)(1)(C)
18 U.S.C. §2

       The defendant is sentenced as provided in pages 2 through                     of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

□ The defendant has been found not guilty on Count(s)

S Counts 31 and 47 of the Indictment shall be dismissed as to this defendant on the motion of the United States.

        It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
 residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
 ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
 circumstances.


                                                                            -Septejnber 19, 2023
                                                                             Date of Imposition ofJudgment




                                                                             Signature otVJudgc

                                                                             J. RAND^ HALL, CHIEF JUDGE
                                                                                          STATES DISTRICT COURT
                                                                            ^UTHERN DISTRICT OF GEORGIA
                                                                             Name and Title of Judge       yv

                                                                             Date             '        '
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                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
            16 months.



     ^     The Court makes the following recommendations to the Bureau of Prisons: It is recommended that the defendant be
           evaluated by Bureau of Prisons officials to establish his participation in an appropriate program of substance abuse
           treatment and counseling during his term of incarceration.

     13    The defendant is remanded to the custody ofthe United States Marshal.

     □      The defendant shall surrender to the United States Marshal for this district:

          □      at                              □       a.m.      □ p.m.          on
          □      as notified by the United States Marshal.

     □     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          □      before 2 p.m. on
          □      as notified by the United States Marshal.
          □      as notified by the Probation or Pretrial Services Office.


                                                                      RETURN

1 have executed this judgment as follows:




          Defendant delivered on                                                             to

at                                                      , with a certified copy of this judgment.


                                                                                                       UNITED STATES MARSHAL




                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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                                                            SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised relezise for a term of: 3 years.

                                                           MANDATORY CONDITIONS


1.       You must not commit another federal, state, or local crime.
2.       You must not unlawfully possess a controlled substance.
3.       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
         from imprisonment and at least two periodic drug tests, thereafter, as determined by the court.
             □ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
         abuse. (Check, ifapplicable.)
4.           □ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (Check, ifapplicable.)
5.       13 You must cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
6.       □ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (Check, ifapplicable.)
7.       □ You must participate in an approved program for domestic violence. (Check, if applicable.)

     You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
     page.
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                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
  2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
       and when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.   You must not knowingly leave the federal Judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
  4.   You must answer truftflilly the questions asked by your probation officer.
  5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
     notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
     within 72 hours of becoming aware of a change or expected change.
  6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
     from doing so. If you do not have full-time employment you must try to fmd full-time employment, unless the probation officer
     excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
     Job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at
     least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours
       of becoming aware of a change or expected change.
  8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
       the probation officer.
  9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own,possess, or have access to a fu-earm, ammunition, destructive device, or dangerous weapon (i.e. anything that
       was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as a nunchakus
       or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting permission from the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified that person about the risk.
 13.   You must follow the instructions ofthe probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this
Judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                Date
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                                    SPECIAL CONDITIONS OF SUPERVISION



1. You must participate in a substance abuse treatment program and follow the rules and regulations ofthat program. The probation
   officer will supervise your participation in the program. You must pay the costs oftreatment in an amount to be determined by
   the probation officer, based on your ability to pay or availability of third-party payment.

2. You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to
   obstruct or tamper with the testing methods.

3. You must provide the probation officer with access to any requested financial information and authorize the release of any
   fmancial information. The probation office may share fmancial information with the U.S. Attorney's Office.

4. You must pay the financial penalty in accordance with the Schedule of Payments sheet of this judgment. You must also notify
   the court of any changes in economic circumstances that might affect the ability to pay this financial penalty.

5. You must submit your person, property, house, residence, office, vehicle, papers, computers (as defined in 18 U.S.C. §
    1030(e)(1)), other electronic communications or data storage devices or media, to a search conducted by a United States
    probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants
    that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under this
    condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to be
    searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

6. A curfew is imposed as a special condition ofsupervised release. You must comply with the conditions of a curfew from 10:00
   p.m. until 6:00 a.m. for the period of supervision. During this time, you will remain at your place of residence at all times and
    shall not leave except when such leave is approved in advance by the probation officer.
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                                          CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments.

           Assessment             Restitution           Fine                      AVAA Assessment*           JVTA Assessment **
TOTALS $100                       N/A                   $1,500                    N/A                        N/A

□     The determination of restitution is deferred until                          . An Amended Judgment in a Criminal Case(A0245C)
      will be entered after such determination.


□     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                            Total Loss***                      Restitution Ordered                    Priority or Percentage




TOTALS


□     Restitution amount ordered pursuant to plea agreement $

□     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after die date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     □     the interest requirement is waived for the      □     fine     □ restitution.

     □     the interest requirement for the       □ fine         □ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113 A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A    13 Lump sum payment of$100 is due immediately, balance due

              n     not later than                                    ,or
             ^     in accordance       DC,        □ D,          H E, or     3 F below; or

B        □ Payment to begin immediately (may be combined with                  DC,          □ D, or          □ F below); or

C        □ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                        (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D        □ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                        (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E        □ Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F        3    Special instructions regarding the payment of criminal monetary penalties:
             While in the custody of the Bureau of Prisons, the defendant shall make payments of either quarterly installments of a
             minimum of $25 if working non-UNICOR or a minimum of 50 percent of monthly earnings if working UNICOR. Upon
             release from imprisonment and while on supervised release, the defendant shall make minimum monthly payments of $^
             over a period of ^ months. Payments are to be made payable to the Clerk, United States District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


□         Joint and Several
          Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several
          Amount, and corresponding payee, if appropriate.

□         The defendant shall pay the cost of prosecution.

□         The defendant shall pay the following court cost(s):

□         The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
